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       ORAL ARGUMENT SCHEDULED NOVEMBER 20, 2023

                              No. 23-3190
               ________________________________________

            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
              ________________________________________

                     UNITED STATES OF AMERICA,

                                                               Plaintiff-Appellee,
                                     v.

                          DONALD J. TRUMP,

                                                    Defendant-Appellant.
               ________________________________________

 On Appeal from the United States District Court for the District of Columbia
              ________________________________________

      BRIEF OF AMICUS CURIAE FOR AMERICA FIRST LEGAL
           FOUNDATION IN SUPPORT OF APPELLANT
             ________________________________________


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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel of record

certifies as follows:

      A.     Parties and Amici Curiae

      All parties, intervenors, and amici appearing before the district court and

in this court are listed in the Brief for Defendant-Appellant.

      B.     Rulings Under Review

      References to the rulings at issue appear in the Brief for Defendant-

Appellant.

      C.     Related Cases

      To amicus’s knowledge, there are no related cases.



                                             /s/ Judd E. Stone II
November 14, 2023                            Judd E. Stone II




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         RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and

Circuit Rule 26.1, amicus curiae America First Legal Foundation declares that it

has not issued stock to the public, has no parent company, and has no

subsidiaries. No publicly held corporation owns 10% or more of its stock, as it

has issued none.



                                            /s/ Judd E. Stone II
November 14, 2023                           Judd E. Stone II




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                      INTEREST OF AMICUS CURIAE1

      America First Legal Foundation is a nonprofit organization dedicated to

promoting the rule of law in the United States by preventing executive

overreach, ensuring due process and equal protection for every American

citizen, and encouraging understanding of the law and individual rights

guaranteed under the Constitution and laws of the United States.

      America First Legal has a strong interest in this case. While America First

Legal frequently challenges unlawful executive actions in court, one of the most

powerful checks on the Executive Branch is not the judiciary but the court of

public opinion. Legal vindication can take years; political backlash can foment

in minutes. The district court’s order impedes that essential check on the most

core executive power—the power to charge private citizens with criminal

offenses—by prohibiting the former President of the United States and current

candidate for President from “targeting” a specific Executive Branch official for

criticism. J.A.231 (“target” in original).




1
 Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), America First
Legal Foundation certifies that no party’s counsel wrote this brief in whole or
part, no party or party’s counsel contributed money to fund the preparation or
submission of this brief, and no person, other than America First Legal,
contributed money to fund the preparation or submission of this brief.


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      As an organization that employs numerous former Department of Justice

and Executive Branch personnel, America First Legal is familiar with the

political sensitivity of many Executive Branch decisions. Therefore, it submits

this brief to highlight the importance of robust political accountability as a check

on executive discretion.


                        SUMMARY OF ARGUMENT

      Through the gag order, a single district judge has prevented the former

President of the United States—who is also a leading candidate for President in

next year’s election—from criticizing a key subordinate of his chief political

rival. That order doubly offends the separation of powers.

      First, the gag order offends the separation of powers because it deprives

the former President of recourse to the most powerful check on Executive

Branch actions: political accountability. The Executive Branch enjoys broad

discretionary powers, including the power to indict, with few or no checks

beyond political accountability to a national electorate. But such accountability

can be fostered only through political speech and political association, which the

gag order sharply limits. The order singles out a specific Executive Branch

official—at minimum, a limited-purpose public figure—for extraordinary

protection from criticism, disables the former President from discussing

potentially powerful exculpatory testimony, and prohibits the former President

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from calling on his friends and supporters to defend him similarly in public. Such

restrictions frustrate the effectiveness of political checks on the Executive

Branch’s exercise of discretion in this case.

         Second, the gag order offends the separation of powers because it acts as

a delegation to a single judicial officer to supervise political debates between a

candidate to lead the Executive Branch and a senior official serving in the

Executive Branch. Four factors combine to magnify this delegation: the gag

order’s acknowledged ambiguity; the district court’s reliance on subjective

criteria in resolving that ambiguity; the gag order’s lack of a germaneness

requirement; and the gag order’s nationwide application. Whether such an order

would be tolerable to the separation of powers when supported by a thorough

record and detailed findings is unclear; relying on speculation, it surely cannot

stand.


                                   ARGUMENT

I.       THE GAG ORDER UNDERMINES EXECUTIVE BRANCH POLITICAL
         ACCOUNTABILITY.

         A.    Executive discretion depends on political accountability.

         The Executive Branch employs considerable discretion in its prosecutorial

actions. Administrations of both parties have claimed unreviewable—or, at

most, deferentially reviewable—discretion over a host of decisions, from


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whether and how to enforce the immigration laws to interpreting regulations

carrying criminal penalties to recognizing a foreign government as legitimate.

See, e.g., Trump v. Hawaii, 138 S. Ct. 2392, 2408, 2421 (2018) (noting that the

immigration law at issue “exudes deference to the President in every clause” and

noting that the Court “cannot substitute [its] own assessment for the Executive’s

predictive judgments on [national security] matters”); Zivotofsky ex rel. Zivotofsky

v. Kerry, 576 U.S. 1, 28 (2015) (“[T]he power to recognize or decline to recognize

a foreign state and its territorial bounds resides in the President alone.”); United

States v. Fokker Servs. B.V., 818 F.3d 733, 741 (D.C. Cir. 2016) (“The Executive’s

primacy in criminal charging decisions is long settled. . . . Correspondingly,

judicial authority is at its most limited when reviewing the Executive’s exercise

of discretion over charging determinations.” (cleaned up)). And claims to

expansive Presidential power are not without historical warrant: the Executive

power that the Framers were familiar with had few bounds. The Federalist No.

70 (A. Hamilton) (“Energy in the executive is a leading character in the

definition of good government.”) Then, as now, the cardinal recourse for those

who disagreed with the President lay in the President’s political accountability

for his acts and the acts of his subordinates. Marbury v. Madison, 5 U.S. 137, 166–

67 (1803) (“[W]hatever opinion may be entertained of the manner in which

executive discretion may be used, still there exists, and can exist, no power to


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control that discretion. . . . [N]othing can be more perfectly clear than that

[discretionary] acts are only politically examinable.”).

      No less than the separation of powers depends on the Executive Branch

remaining politically accountable. The Judicial Branch often explains its limited

involvement with the other branches’ actions by reference to political

accountability. A litigant’s standing, as the Supreme Court has explained, “rests

not on the default of politically accountable officers,” Gill v. Whitford, 585 U.S.

----, 138 S. Ct. 1916, 1929 (2018), because federal jurisdiction does not arise

merely because the political process has failed to yield a desirable result. Quite

the opposite: some matters may be so appropriate for final resolution by “action

of the political departments” that they become nonjusticiable political

questions—which “is primarily a function of the separation of powers.” Baker v.

Carr, 369 U.S. 186, 210 (1962).

      Likewise, the Legislative Branch may not insulate officers with

“significant executive power” from Presidential removal, for the “entire

‘executive Power’ belongs to the President alone” because the Framers “made

the President the most democratic and politically accountable official in

Government.” Seila Law v. C.F.P.B., 591 U.S. ----, 140 S. Ct. 2183, 2192, 2201,

2203 (2020). In other words, the Executive Branch’s singular nature and power

depend on political accountability. “The . . . constitutional strategy is


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straightforward: divide power everywhere except for the Presidency, and render

the President directly accountable to the people through regular elections.” Id.

at 2203. That accountability runs through each rung in the executive ladder:

“[t]hrough the President’s oversight, ‘the chain of dependence [is] preserved,’ so

that ‘the lowest officers, the middle grade, and the highest’ all” remain politically

accountable as well. Id. (quoting 1 Annals of Cong. 499 (J. Madison)).

      The “investigation and prosecution of crimes is a quintessentially

executive function”—and the exercise of prosecutorial discretion is perhaps the

quintessentially executive function. Morrison v. Olson, 487 U.S. 654, 706 (1988)

(Scalia, J., dissenting). An individual who believes he is being wrongly

investigated or wrongly prosecuted has only the Executive Branch to turn to, for

“the balancing of various legal, practical, and political considerations” in

conducting a prosecution, “none of which is absolute, is the very essence of

prosecutorial discretion.” Id. at 708. Neither courts nor Congress may command

the use of that discretion in a particular case. See, e.g., Fokker Servs., 818 F.3d at

744 (noting “the Judiciary’s lack of competence to review the prosecution’s

initiation and dismissal of charges”). A defendant who views himself as the

victim of an unjust prosecution must turn to political persuasion to remedy his

problem or nothing at all.




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      The backdrop of this case proves the truth of Justice Scalia’s statement

that prosecutorial discretion carries within it a political dimension. Here, the

current President’s administration has authorized the appointment of, and an

indictment by, a Special Counsel. That indictment charges his principal political

rival and likely general-election opponent, a former President, with multiple

federal crimes. Before the gag order, supporters and critics of both the current

President and former President vigorously debated the propriety of the

indictment in the political arena. The “purely executive” decision to indict

President Trump, Morrison, 487 U.S. at 705 (Scalia, J., dissenting), was made by

political actors at the apex of the Executive Branch, and both sides of this

political dispute have properly appealed to the public to ratify or reject that

decision. That is political accountability for Executive Branch actions at work.

      This case is also political in the more commonplace sense: Americans’

views of politics shape and are shaped by their views of the charges brought by

President Biden against President Trump. Editorial Board, “Will Trump Be

Indicted Into Office?” WSJ (Nov. 6, 2023), https://bit.ly/469U78p ; Jonathan

Swan et al., “Trump Indictments Haven’t Sunk His Campaign, but a Conviction

Might,” New York Times (Nov. 6, 2023), https://nyti.ms/3QGkwVG; Tal

Axelrod, “Nearly two-thirds of Americans think Jan. 6 charges against Trump

are serious: POLL,” ABC News (Aug. 4, 2023), https://abcn.ws/3FXzNwj.


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Like any other private individual, President Trump has recourse only to political

accountability measures to attempt to thwart an Executive Branch action—his

prosecution—that he disagrees with.


      B.     Political accountability is possible only through political speech
             and political association, which the gag order sharply limits.

      The political accountability that checks Executive Branch power does not

arise in a vacuum. It is the product of political speech and political association

undertaken to influence one’s fellow voters or the Executive Branch directly.

The gag order sharply curtails President Trump’s ability to engage in core

political speech and political association, thereby limiting his ability to keep both

the Special Counsel and the President “accountable . . . to his country in his

political character.” Marbury, 5 U.S. at 166. That political accountability—like

the First Amendment’s protections—“has its fullest and most urgent application

. . . during a campaign for political office.” Citizens United v. FEC, 558 U.S. 310,

339 (2010). This Court should not allow the gag order to interfere with the

political-accountability process.

      The gag order restrains political speech on its face. As relevant here, it

prohibits at least three kinds of political speech: (1) “any public statements . . .

that target . . . the Special Counsel in this case or his staff,” (2) “any public

statements . . . that target . . . any reasonably foreseeable witnesses or the


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substance of their testimony,” and (3) speech that “direct[s] others to make any

public statements” in the former two categories. But these are precisely the kinds

of speech designed to foster political accountability for the Executive Branch’s

prosecutorial decision in the first place.

      First, the gag order prohibits President Trump from criticizing his electoral

opponent’s Special Counsel—in other words, a direct limitation of President

Trump’s ability to engage in political discourse and challenge his opponent. For

example, it ostensibly prohibits the former President from comparing his

situation to that of former Governor Bob McDonnell, a then-prominent

Republican whom Jack Smith prosecuted for corruption. Josh Gerstein,

“Prosecutor in Trump Documents case has history pursuing prominent

politicians,” Politico (June 13, 2023), https://politi.co/3SNwvTY. McDonnell

and his wife ultimately obtained a unanimous Supreme Court decision in their

favor. McDonnell v. United States, 579 U.S. 550 (2016).

      Second, the order likewise prohibits President Trump from remarking on

expected favorable or unfavorable witnesses or their testimony—from saying,

for example, that he believes a given former staffer’s testimony will exonerate

him of one charge or from saying that the prosecution is aware of another

staffer’s exculpatory testimony but is nevertheless prosecuting him out of

political spite. This, too, is core political speech: ascribing an undesirable


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political motive to one’s electoral rival and basing it on concrete allegations.

More importantly, this aspect of the order risks the complete evisceration of the

former President’s ability to offer a substantive defense against the charges to the

public. In the context of an election where the former President is a leading

candidate against the current Executive, the gag order’s limitation on this

important political speech impermissibly shields the prosecution from

accountability by limiting discussion of the evidence.

      Third, the order’s restraint on “directing” others to make public

statements transparently limits political speech. It prohibits a candidate for office

from asking his supporters to express their support for his cause. Indeed, a

paradigmatic exhortation to foster political accountability for an undesired

executive action—“call your Congressman and demand he stop Biden appointee

Jack Smith”—falls squarely within the gag order’s prohibition. That is an

intolerable intrusion by the judiciary into the political and executive sphere,

which is offensive to the separation of powers. See, e.g., Marbury, 5 U.S. at 166–

67; Morrison, 487 U.S. at 705 (Scalia, J., dissenting).

      The order’s listed exceptions only confirm that it limits core political

speech that fosters political accountability. The order affirms that President

Trump may still “criticize the government generally, including the current

administration or the Department of Justice,” and he may still assert both his


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innocence and his belief that the prosecution against him is politically

motivated. This exception suggests that speech criticizing President Biden or his

Department of Justice in general terms is acceptable, but that speech criticizing

President Biden or his Department of Justice for specific actions taken by his

subordinate, Special Counsel Jack Smith, is not. But one presupposes that

speech encouraging political accountability for actions taken by the Executive

Branch is more likely to be effective if it identifies the specific bad acts and bad

actors that the speaker wishes changed; a rule that allows only general political

speech is one that allows only ineffective political speech. Cf. McCutcheon v. FEC,

572 U.S. 185, 191 (2014) (“If the First Amendment protects flag burning, funeral

protests, and Nazi parades—despite the profound offense such spectacles

cause—it    surely   protects   political   campaign    speech   despite   popular

opposition.”). This is just so regarding the order’s preservation of President

Trump’s right to protest his innocence and the political nature of his prosecution.

      If President Trump cannot explain why he is innocent by referencing what

witnesses and testimony he expects to see (or not) at trial, then the order allows

him to make generalized, less-persuasive statements about his innocence but not

specific, more persuasive ones. Cf. Davis v. FEC, 554 U.S. 724, 743 n.8 (2008)

(noting that “it would be generous for the Government to regulate core political

speech for the asserted purpose of improving that speech” or addressing its


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“quality”). Said differently, the gag order restricts President Trump’s political

speech precisely where it is most likely to produce political accountability.

      The gag order’s objects strongly suggest its constitutional infirmity. After

all, it does not prevent specific statements from being made, as a typical gag

order might, such as prohibiting the disclosure of sealed materials, sensitive

personal information, or discrete facts that might embarrass or harm a trial

participant. Instead, the gag order provides wholesale protections to preferred

individuals and topics, regardless of the specific statements’ potential effect on

the trial court proceedings. Similarly, the gag order does not prohibit contacting

specific individuals by interested parties, such as potential jurors. To the

contrary, the gag order prevents any covered statements from being made in

public to any gathering, at any time, for any purpose, and it singles out an

individual wielding executive power for favorable treatment and protection from

“targeted” criticism.

      That unusual protection is especially difficult to explain given that the

Special Counsel no doubt understood that he was making himself a public figure

for First Amendment purposes by accepting his appointment. As this Court has

recognized, an individual becomes at least a limited-purpose public figure when

he “thrust[s] [him]self to the forefront of particular public controversies in order

to influence the resolution of the issues involved.” Jankovic v. Int’l Crisis Grp., 822


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F.3d 576, 584 (D.C. Cir. 2016) (quoting Gertz v. Robert Welch, Inc., 418 U.S. 323,

345 (1974)). That public/private dichotomy distinguishes between “those who

assumed the risk of publicity and had access to channels of communication to

defend themselves, and those who did not.” Jankovic, 822 F.3d at 584-85

(quoting Lohrenz v. Donnelly, 350 F.3d 1272, 1279 (D.C. Cir. 2003)). Special

Counsel Jack Smith is no doubt familiar with the media attention that attends

highly political prosecutions, having prosecuted former Governor McDonnell,

former vice-presidential nominee John Edwards, Senator Robert Menendez,

and Congressman Rick Renzi. See, e.g., Gerstein, supra. Likewise, he has access

to communication channels to defend himself publicly, having made multiple

public statements regarding President Trump’s prosecution. See, e.g., Statement

of Special Counsel Jack Smith, U.S. Dep’t of Justice (Aug. 1, 2023),

https://bit.ly/49AU60g. The need for a gag order to insulate a public figure like

the Special Counsel from individual criticism is, at best, a First Amendment

anomaly.

      But the gag order also sharply limits political association. It prohibits

President Trump from asking his allies and supporters to speak critically of Jack

Smith to generate political accountability for President Trump’s electoral rival.

J.A.231. It presumably also prohibits those allies and supporters from agreeing

to so speak. Yet, these kinds of coordinated efforts are the backbone of political


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movements. Everything from “meet me at the Jack Smith protest at 3:00” to

“call your Congressmen about Jack Smith” to “write letters to the editor of your

local paper decrying Jack Smith for a political prosecution” amounts to a

statement directing others to make a public statement targeting Jack Smith. Yet

these are certainly acts of political association as well as political speech—and

these political associations no doubt generate political accountability far more

effectively than a single political speaker can.

      That the gag order does not further restrain President Trump’s First

Amendment rights is no consolation. Those rights are his only recourse: if public

opinion is to serve as the primary check on the Executive’s exercise of

quintessentially executive power in our system of separated powers, it is political

speech and association or nothing. The district court’s order precludes President

Trump from publicly criticizing the precise government official responsible for

exercising that power, calling on his allies to criticize that official, or discussing

the testimony that will substantiate his claims of innocence. That the order does

not go further is cold comfort for the separation of powers—and it should be no

comfort to this Court.




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II.   THE GAG ORDER EMPOWERS A SINGLE JUDICIAL OFFICER TO
      SUPERINTEND OVER A CANDIDATE TO HEAD THE EXECUTIVE BRANCH.

      As President Trump has explained in his opening brief (at 48-54), the gag

order is both intolerably vague and plainly overbroad. These faults are sufficient

to require reversal on First Amendment grounds. But they also inflict distinct

separation-of-powers problems: they allow a single judicial officer to referee the

bounds of acceptable criticism nationwide between a candidate for President

and a senior official in the Executive Branch. That, too, is constitutionally

intolerable.

      After all, in other contexts, courts understand that the power to interpret

ambiguities in legally operative language acts as a delegation of authority. The

Supreme Court describes the most famous such power, Chevron deference, as

exactly that: for that deference to apply, “the agency must have received

congressional authority” delegated to it regarding the particular question at

hand. City of Arlington v. FCC, 569 U.S. 290, 306 (2013); see also id. at 300

(referring to such authority as a delegation). The district court has vested itself

with an analogous authority. It acknowledged that the gag order’s key term,

“target,” is amenable to several different meanings, J.A.338, but the court

asserted that it would decide which meaning applies in any given situation on a

case-by-case basis. Id. And the district court has no congressional warrant to




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exercise such a delegation of power, making it all the more troubling for the

separation of powers.

      The separation-of-powers problems with the district court’s order are

further heightened by its doubly open-ended nature. It is open-ended first in that

the district court has suggested it will use entirely subjective criteria in

determining what definition of “target” to apply and whether the former

President’s criticism of one of his rival’s subordinates meets that definition. And

it is open-ended second in that there is no topic on which the former President

is apparently safe, save generalized grievances with the current administration

or assertions of innocence. J.A.231. The gag order prohibits the former President

from targeting the Special Counsel for criticism on any basis related to the

pending criminal charges or otherwise. Id. Presumably, the district court intends

to reduce this overbreadth in interpreting the order in the future. If so, however,

that too operates analogously to a delegation: the district court has forbidden all

unwanted criticism targeting the Special Counsel now, while giving itself the

latitude to determine whether challenged statements are sufficiently germane to

the former President’s criminal trial to justify sanctions.

      The district court’s gag order is unbounded in yet a third way: it has no

geographic limitations. Whatever the merits a prototypical gag order might have

in preventing, for example, one side from unduly influencing a potential jury


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pool, it is difficult to imagine a legitimate interest that the Special Counsel may

have in the gag order nationwide. The gag order prohibits speech in Washington

State to the same extent as in Washington D.C.; it prevents the former President

from exhorting his allies to speak about his complaints against Executive Branch

action at a local political rally to the same extent as on the courthouse steps. The

district court’s interests in the integrity of its proceedings, however compelling,

cannot possibly be equally endangered regardless of where or to whom in the

United States the former President speaks.

      Such a broad gag order might prove impossible to justify even with the

most fulsome of records and the most specific of findings. But this gag order was

based on neither. In redressing admittedly speculative dangers, J.A.204, the

district court empowered itself to adjudicate the propriety of core political speech

between two candidates for our Nation’s sole true nationwide office in all places,

as between all people, and on any subject targeting a specific Executive Branch

officer. Such a power is as anathema to the separation of powers as it is to the

First Amendment, and this Court should not countenance it.




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                               CONCLUSION

      This Court should reverse the district court.

Dated: November 14, 2023                 Respectfully submitted,


                                         /s/ Judd E. Stone II
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to FED. R. APP. P. 32(a)(7)(C) and Circuit Rule 32(a), this brief

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                        CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record who have consented to electronic

service are being served today with a copy of this document via the Court’s

CM/ECF. All parties in this case are represented by counsel consenting to

electronic service.

                                            /s/ Judd E. Stone II
November 14, 2023                           Judd E. Stone II
